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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                   LUBBOCK DIVISION

  STATE OF TEXAS, et al.,

           Plaintiffs,

  v.                                                             No. 5:24-CV-225-H

  XAVIER BECERRA, In His Official
  Capacity as Secretary of Health and Human
  Services, et al.,

           Defendants.
                                             ORDER

         Before the Court is the parties’ Joint Status Report.   Dkt. No. 50. In the report, the

  parties state that the “[d]efendants continue to evaluate their position in light of the

  President’s recent Executive Order,” and they “ask that the Court not disturb the current

  stay of briefing deadlines.” Id. at 2.

         The Court agrees. The briefing schedule will remain stayed.       The parties are ordered

  to file another Joint Status Report no later than April 21, 2025.

          So ordered on February Z&_, 2025.



                                                   JAMES
                                                            goofSLEY HENDRIX
                                                   UNITED     STATES DISTRICT JUDGE
